Case 2:19-cv-02123-DMG-AGR Document 42 Filed 10/10/19 Page 1 of 22 Page ID #:339




  1   JOHN S. CHA, ESQ. (SBN 129115)
      jcha@raineslaw.com
  2
      RAINES FELDMAN LLP
  3   1800 Avenue of the Stars, 12th Floor
      Los Angeles, CA 90067
  4
      Telephone: (310) 440-4100
  5   Facsimile: (424) 239-1613
  6
      MARK E. ELLIOTT (SBN 157759)
  7   mark.elliott@pillsburylaw.com
  8   PILLSBURY WINTHROP SHAW PITTMAN LLP
      725 South Figueroa Street, Suite 2800
  9   Los Angeles, CA 90017-5406
 10   Telephone: (213) 488-7100
      Facsimile: (213) 629-1033
 11
 12   Attorneys for Plaintiffs
      TC RICH, LLC, Rifle Freight, Inc., Fleischer
 13   Customs Brokers, Richard G. Fleischer, and
 14   Jacqueline Fleischer

 15                         UNITED STATES DISTRICT COURT
 16                       CENTRAL DISTRICT OF CALIFORNIA
 17
 18   TC RICH, LLC, a California Limited        Case No.: 2:19-CV-02123-DMG-AGR
      Liability Company, RIFLE FREIGHT,
 19   INC., a California corporation,
      FLEISCHER CUSTOMS BROKERS, a              PLAINTIFFS’ RESPONSE TO
 20   sole proprietorship, RICHARD G.           ORDER TO SHOW CAUSE
      FLEISCHER, an individual, and
 21   JACQUELINE FLEISCHER, an
      individual,                               Courtroom: 8C
 22                                             Judge: Hon. Dolly M. Gee
                  Plaintiffs,
 23         v.
 24                                                  First Amended Complaint: 06/04/2019
      HUSSAIN M. SHAIKH, an individual,
 25   HAROON KHAN, an individual, and
      SHAH CHEMICAL CORPORATION, a
 26   California Corporation.

 27               Defendants.

 28
      TC RICH v. SHAIKH, et al.                          RESPONSE TO ORDER TO SHOW
                                                                             CAUSE
Case 2:19-cv-02123-DMG-AGR Document 42 Filed 10/10/19 Page 2 of 22 Page ID #:340




  1                                                TABLE OF CONTENTS
  2                                                                                                                                 Page
  3
      INTRODUCTION .......................................................................................................... 1
  4
      LEGAL STANDARD: CLAIM SPLITTING ................................................................ 2
  5
      DISCUSSION ................................................................................................................. 4
  6
  7          A. The FAC does not constitute claim splitting because the Defendants
                are not parties to the Pacifica action, nor are they in privity with
  8             Pacifica Chemical. ........................................................................................... 4
  9
                    1.     Defendants have not agreed to be bound by the Pacifica action. ........... 4
 10
                    2.     There are no “substantive legal relationships” that establish
 11                        privity. ...................................................................................................... 7
 12
                    3.     Defendants’ interests cannot be adequately represented by
 13                        Pacifica Chemical in the Pacifica action ............................................... 10
 14                 4.     Defendants do not control the Pacifica action ...................................... 11
 15
             B.     Plaintiffs are not attempting to do an “end run” around this Court’s
 16                 orders in the Pacifica action .......................................................................... 12
 17          C.     Objectives of the Doctrine Against Claim Splitting would not be
 18                 achieved by its application to this case. ........................................................ 14
 19   CONCLUSION ............................................................................................................. 16
 20
 21
 22
 23
 24
 25
 26
 27
 28
       TC RICH v. SHAIKH, et al.                                      i              RESPONSE TO ORDER TO SHOW
                                                                                                         CAUSE
Case 2:19-cv-02123-DMG-AGR Document 42 Filed 10/10/19 Page 3 of 22 Page ID #:341




  1                                             TABLE OF AUTHORITIES
  2
  3
      Cases .................................................................................................................... Page(s)
  4
      Adams v. California Dept. of Health Services,
  5     487 F.3d 684, 689 (9th Cir. 2007), overruled on other grounds by
  6     Taylor v. Sturgell, 553 U.S. 880, 904 (2008) .................................................. 2, 3, 16
  7   Atchison, Topeka and Santa Fe Ry. Co. v. Hercules Inc.,
         146 F.3d 1071 (9th Cir. 1998) ................................................................................. 14
  8
  9   Bank of Lake Tahoe v. Bank of America,
        57 Fed. Appx. 310 (9th Cir. 2003) ............................................................................ 8
 10
 11   United States v. Bestfoods,
        524 U.S. 51, 118 S. Ct. 1876, 141 L. Ed. 2d (1998) ................................................. 5
 12
      Burlington N. & Santa Fe Ry. Co. v. United States,
 13     556 U.S. 599 (2009)................................................................................................. 10
 14
      Cal. Dept. of Toxic Substances Control v. Hearthside Residential Corp.,
 15     613 F.3d 910 (9th Cir. 2010) ..................................................................................... 9
 16   Center for Self-Improvement & Community Development v. Lennar
 17     Corp.,
        173 Cal. App. 4th 1543 (Ct. App. 2009) ................................................................. 12
 18
 19   Class Plaintiffs v. City of Seattle,
         955 F.2d 1268 (9th Cir. 1992) ................................................................................... 4
 20
      Clements v. Airport Auth. Of Washoe Cnty.,
 21      69 F.3d 321 (9th Cir. 1995) ..................................................................................... 15
 22
      United States v. Conservation Chemical Co.,
 23     619 F.Supp. 162 (D.C.Mo.1985) ............................................................................... 6
 24   In re Consolidated Salmon Cases,
 25      688 F. Supp. 2d 1001 (E.D. Cal. 2010) ..................................................................... 3
 26   Cook v. C.R. England,
 27     No. CV 12-3515-GW(CWX), 2012 WL 2373258 (C.D. Cal. June 21,
        2012) ........................................................................................................................ 14
 28
       TC RICH v. SHAIKH, et al.                                     ii             RESPONSE TO ORDER TO SHOW
                                                                                                        CAUSE
Case 2:19-cv-02123-DMG-AGR Document 42 Filed 10/10/19 Page 4 of 22 Page ID #:342




  1   Cooper Indus., Inc. v. Aviall Svcs, Inc.,
        543 U.S. 157 (2004)................................................................................................. 10
  2
  3   Costantini v. Trans World Airlines,
         681 F.2d 1199 (9th Cir.1982) ................................................................................... 3
  4
      Ferland v. Braband,
  5
         7 Fed. Appx. 692 (9th Cir. 2001) ............................................................................ 14
  6
      F.T.C. v. Garvey,
  7      383 F.3d 891 (9th Cir. 2004) ..................................................................................... 8
  8
      Gill & Duffus Serv., Inc. v. A.M. Nural Islam,
  9      675 F.2d 404 (D.C.Cir.1982) (per curiam) ................................................................ 4
 10   Goe Eng’g Co. v. Physicians Formula Cosmetics, Inc.,
 11     No. CV 94-3576-WDK, 1997 WL 889278 (C.D. Cal. June 4, 1997) ....................... 6
 12   In re Gottheiner,
 13       703 F.2d 1136 (9th Cir. 1983) ................................................................................... 8

 14   Grateful Palate, Inc. v. Opdahl,
        No. CV 08-2858-GW(PJWX), 2008 WL 11338551 (C.D. Cal. Nov.
 15     10, 2008) .................................................................................................................... 3
 16
      United States v. Gurley,
 17     43 F.3d 1188 (8th Cir. 1994) ................................................................................. 7, 9
 18   Haphey v. Linn Cnty.,
 19     924 F.2d 1512, 1517 (9th Cir.1991), set aside on other grounds, 953
        F.2d 549 (9th Cir.1992) ......................................................................................... 2, 3
 20
 21   IMP Int’l, Inc. v. Zibo Zhongshi Green Biotech Co.,
        No. EDCV141339JGBDTBX, 2015 WL 13357602 (C.D. Cal. Mar.
 22     20, 2015) .................................................................................................................. 12
 23   Irwin v. Mascott,
 24      370 F.3d 924 (9th Cir. 2004) ..................................................................................... 8
 25   Marathon Oil Co. v. Texas City Terminal Railway Co.,
 26     164 F. Supp. 2d 914 (S.D. Tex. 2001)..................................................................... 10

 27   United States v. Ne. Pharm. & Chem. Co.,
        810 F.2d 726 (8th Cir. 1986) ................................................................................. 6, 9
 28
       TC RICH v. SHAIKH, et al.                                    iii            RESPONSE TO ORDER TO SHOW
                                                                                                       CAUSE
Case 2:19-cv-02123-DMG-AGR Document 42 Filed 10/10/19 Page 5 of 22 Page ID #:343




  1   Robinson v. Volkswagenwerk AG,
        56 F.3d 1268 (10th Cir. 1995) ........................................................................... 12, 13
  2
  3   Rolloco Holdings, Inc. v. VLP Capital, Inc.,
         No. EDCV181718JGBSPX, 2019 WL 1491175 (C.D. Cal. Apr. 4,
  4      2019) ........................................................................................................................ 12
  5
      In re Schimmels,
  6       127 F.3d 875 (9th Cir. 1997) ..................................................................................... 3
  7   Sidney v. Zah,
  8      718 F.2d 1453 (9th Cir. 1983) ................................................................................... 2
  9   Tavery v. United States,
 10      897 F.2d 1032 (10th Cir. 1990) ............................................................................. 7, 9

 11   Taylor v. Sturgell,
         553 U.S. 880, 904 (2008) ................................................................................. passim
 12
 13   TC Rich, LLC, et al. v. Pacifica Chemical Inc., et al.,
        CV 15-4878-DMG ............................................................................................ passim
 14
      Unicolors, Inc. v. Macy’s Inc.,
 15     No. CV 14-08611-RGK SSX, 2015 WL 1020101 (C.D. Cal. Mar. 6,
 16     2015) .......................................................................................................................... 3
 17   Voggenthaler v. Maryland Square LLC,
 18     724 F.3d 1050 (9th Cir. 2013) ................................................................................... 9

 19   Zands v. Nelson,
        797 F. Supp. 805 (S.D. Cal. 1992) ...................................................................... 6, 11
 20
 21                                                      Statutes and Codes

 22   United States Code
        Title 42, Section 107 ................................................................................................ 11
 23     Title 42, Section 113(f)(1) ....................................................................................... 10
 24     Title 42, Section 9601(9) ........................................................................................... 5
        Title 42, Section 9601 et seq. (1980) ............................................................... 5, 6, 10
 25     Title 42, Section 9607(a) ........................................................................................... 5
 26     Title 42, Section 9607(a)(2)....................................................................................... 9
        Title 42, Section 9613(f)(1) ..................................................................................... 10
 27
 28
       TC RICH v. SHAIKH, et al.                                     iv             RESPONSE TO ORDER TO SHOW
                                                                                                        CAUSE
Case 2:19-cv-02123-DMG-AGR Document 42 Filed 10/10/19 Page 6 of 22 Page ID #:344




  1   California Revenue & Tax Code
          Section 23301 ......................................................................................................... 12
  2
  3                                                   Rules and Regulations
  4   Federal Rules of Civil Procedure
         Rule 16 ..................................................................................................................... 14
  5
         Rule 20 ............................................................................................................... 13, 14
  6      Rule20(a)(2)(A) ....................................................................................................... 13
  7                                                       Other Authorities
  8
      Miller and Starr California Real Estate, Vol. 11, Section 39.8 (4th ed.
  9     2019) ........................................................................................................................ 11
 10   Restatement (Second) of Judgments Section 24 (1982) ................................................. 2
 11
      Restatement (Second) of Judgments Section 49 & comment a (1982) ...................... 7, 9
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
       TC RICH v. SHAIKH, et al.                                     v              RESPONSE TO ORDER TO SHOW
                                                                                                        CAUSE
Case 2:19-cv-02123-DMG-AGR Document 42 Filed 10/10/19 Page 7 of 22 Page ID #:345




  1            Pursuant to the Court’s September 25, 2019 Order, Plaintiffs TC Rich, LLC, Rifle
  2   Freight, Inc., Fleischer Customs Brokers, Richard G. Fleischer, and Jacqueline
  3   Fleischer (“Plaintiffs”), by and through their counsel of record, respond as follows:
  4   INTRODUCTION
  5            This action relates to an industrial property located at 132 W. 132nd Street, Los
  6   Angeles, California (the “Property”), that is contaminated with volatile organic
  7   compounds attributable to prior owners and operators of the Property. Plaintiffs, the
  8   current owners and occupants of the Property, acquired the Property in April 2005 and,
  9   in connection with a refinance transaction in March 2015, discovered contamination.
 10   Plaintiffs filed this action on March 21, 2019 (Dkt. 1), and subsequently filed a first
 11   amended complaint (“FAC”) on June 4, 2019 (Dkt. 22), alleging, among other things,
 12   that Defendants Hussain M. Shaikh (“Shaikh”), Shah Chemical Corporation (“Shah
 13   Chemical”), and Haroon Khan (“Khan”) (together, “Defendants”) are jointly and
 14   severally liable for the contamination at the Property due to their individual involvement
 15   at—and control of—the Property, either as owners, operators, or both, when hazardous
 16   wastes were released or disposed of.
 17            Plaintiffs allege in the FAC that Defendant Shaikh was the record title owner of
 18   the Property from August 1979 to December 1984, and again from October 1987 to
 19   April 2003. Dkt. 22 ¶ 13, Ex. 1. Defendant Shaikh is also alleged to have been the
 20   “operator” of the Property from at least 2000 to 2003 (following Pacifica Chemical’s
 21   relocation to a new property). Id. at ¶¶ 25, 58, 59, 60. Defendant Shah Chemical is
 22   alleged to have been the operator of the Property from approximately 1980 to 1983,
 23   during which time its operations caused releases of hazardous substances from
 24   equipment that it owned and/or operated. Id. at ¶ 12. Defendant Khan is alleged to have
 25   been the record title owner of the Property from December 1984 to October 1987,
 26   during which time hazardous substances were disposed of at the Property. Id. at ¶ 15,
 27   Ex. 1.
 28
       TC RICH v. SHAIKH, et al.                  1         RESPONSE TO ORDER TO SHOW
                                                                                CAUSE
Case 2:19-cv-02123-DMG-AGR Document 42 Filed 10/10/19 Page 8 of 22 Page ID #:346




  1         Also pending before this Court is a separate related action that Plaintiffs filed
  2   against Pacifica Chemical Corporation (“Pacifica Chemical”) in 2015, alleging that it
  3   was jointly and severally liable for contamination at the Property due to its past
  4   operations and ownership of facilities that resulted in releases of hazardous waste at the
  5   Property. TC Rich, LLC, et al. v. Pacifica Chemical Inc., et al., CV 15-4878-DMG
  6   (AGRx) (“Pacifica”). Plaintiffs believe that Pacifica Chemical operated its chemical
  7   blending business and owned equipment at the Property from approximately 1983 to
  8   2000. Dkt. 22 ¶ 16. Defendant Shaikh, who is not a named defendant in the Pacifica
  9   action, was an officer and shareholder of both Pacifica Chemical and Shah Chemical
 10   during the relevant time periods, in addition to separately being the sole record title
 11   owner of the Property for periods before, during and after those companies’ operations
 12   at the Property. Id. at ¶¶ 14, 18.
 13   LEGAL STANDARD: CLAIM SPLITTING
 14         The Ninth Circuit has recognized the general rule articulated in the Restatement
 15   (Second) of Judgments §§ 24 (1982), which prohibits the splitting of a cause of action,
 16   also known and referred to as “claim splitting.” See e.g., Sidney v. Zah, 718 F.2d 1453,
 17   1459 (9th Cir. 1983). In determining whether a later-filed action is duplicative, a court
 18   must examine whether: (1) the causes of action and relief sought are the same; and (2)
 19   the parties or privies to the action are the same. See Adams v. California Dept. of Health
 20   Services, 487 F.3d 684, 689 (9th Cir. 2007), overruled on other grounds by Taylor v.
 21   Sturgell, 553 U.S. 880, 904 (2008). Claim splitting is commonly considered an aspect
 22   of, or closely related to, the doctrine of res judicata. See, e.g., Haphey v. Linn Cnty., 924
 23   F.2d 1512, 1517 (9th Cir.1991), set aside on other grounds, 953 F.2d 549 (9th Cir.1992)
 24   (“[T]he doctrines against splitting a cause of action and claim preclusion do not appear
 25   to be distinct, but rather two sides of the same coin.”).
 26         Under the first part of the test, the Ninth Circuit uses the “transaction test” to
 27   determine if successive causes of action are the same. Id. The transaction test consists
 28   of the following four criteria: (1) whether rights or interests established in the prior
       TC RICH v. SHAIKH, et al.                  2          RESPONSE TO ORDER TO SHOW
                                                                                 CAUSE
Case 2:19-cv-02123-DMG-AGR Document 42 Filed 10/10/19 Page 9 of 22 Page ID #:347




  1   judgment would be destroyed or impaired by prosecution of the second action; (2)
  2   whether substantially the same evidence is presented in the two actions; (3) whether the
  3   two suits involved infringement of the same right; and (4) whether the two suits arise
  4   out of the same transactional nucleus of facts. Id. (citing Costantini v. Trans World
  5   Airlines, 681 F.2d 1199, 1201–02 (9th Cir.1982) (“The last of these criteria is the most
  6   important.”)).
  7         The second element, “privity,” is a legal conclusion “designating a person so
  8   identified in interest with a party to former litigation that he represents precisely the
  9   same right in respect of the subject matter involved.” In re Schimmels, 127 F.3d 875,
 10   881 (9th Cir. 1997) (internal quotations omitted). To evaluate whether the parties to the
 11   later-filed action are in privity with the parties to the first action, the Adams court
 12   applied a broad concept of privity called “virtual representation.” However, the
 13   Supreme Court has since rejected “virtual representation” as a basis for finding privity
 14   in the preclusion context, and instead has articulated six categories of exceptions to the
 15   general rule forbidding nonparty preclusion. Taylor, 553 U.S. at 904 (“[W]e have often
 16   repeated the general rule that one is not bound by a judgment in personam in litigation
 17   in which he is not designated as a party or to which he has not been made a party by
 18   service of process.”) (internal quotes omitted); see also, In re Consolidated Salmon
 19   Cases, 688 F. Supp. 2d 1001, 1008 (E.D. Cal. 2010) (applying the six Taylor exceptions
 20   to determine privity in a claim splitting analysis); Grateful Palate, Inc. v. Opdahl, No.
 21   CV 08-2858-GW(PJWX), 2008 WL 11338551, at *2 (C.D. Cal. Nov. 10, 2008)
 22   (recognizing Taylor’s overruling of the virtual representation doctrine articulated in
 23   Adams in the claim splitting context); Unicolors, Inc. v. Macy’s Inc., No. CV 14-08611-
 24   RGK SSX, 2015 WL 1020101, at *3 (C.D. Cal. Mar. 6, 2015) (recognizing overruling
 25   of Adams’ virtual representation test and applying six categories of privity identified in
 26   Taylor to determine whether plaintiff had engaged in impermissible claim splitting).
 27         The six exceptions to the general rule against nonparty preclusion are: (1) the
 28   nonparty agrees to be bound by the determination of issues in an action between others;
       TC RICH v. SHAIKH, et al.                 3         RESPONSE TO ORDER TO SHOW
                                                                               CAUSE
Case 2:19-cv-02123-DMG-AGR Document 42 Filed 10/10/19 Page 10 of 22 Page ID #:348




  1   (2) there are pre-existing “substantive legal relationships” between the nonparty and the
  2   party to the other action, including “preceding and succeeding owners of property,
  3   bailee and bailor, and assignee and assignor;” (3) the nonparty is adequately represented
  4   in the other action by a party with the same interests; (4) the nonparty assumes control
  5   over the other litigation; (5) the nonparty is acting as a proxy for a party in the other
  6   case; or (6) a special statutory scheme expressly forecloses successive litigation by
  7   nonlitigants. Taylor, 553 U.S. at 893-95. Of the above categories, only the first four
  8   have potential application to this matter.
  9   DISCUSSION
 10         A.     The FAC does not constitute claim splitting because the Defendants are
 11                not parties to the Pacifica action, nor are they in privity with Pacifica
                   Chemical.
 12
 13         None of the Defendants in this case are named defendants in the Pacifica action.
 14   Therefore, whether this action constitutes impermissible claim splitting turns on
 15   whether the Defendants are in privity with Pacifica Chemical. Because Defendants do
 16   not meet any of the four applicable Taylor exceptions to the general rule against
 17   nonparty preclusion, Defendants cannot be in privity with Pacifica Chemical in the
 18   Pacifica matter. Therefore, this action does not constitute impermissible claim splitting
 19   and should not be dismissed.
 20                1.     Defendants have not agreed to be bound by the Pacifica action.
 21         Defendants have not agreed to be bound by the determination of issues in the
 22   Pacifica action, and Plaintiffs have not raised any theories of alter ego under which
 23   Defendants could potentially be bound by a judgment against Pacifica Chemical. See
 24   Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1278 (9th Cir. 1992) (quoting Gill &
 25   Duffus Serv., Inc. v. A.M. Nural Islam, 675 F.2d 404, 405 (D.C.Cir.1982) (per curiam))
 26   (“The term ‘privity’ signifies that the relationship between two or more persons is such
 27   that a judgment involving one of them may justly be conclusive upon the others,
 28   although those others were not party to the lawsuit.”).
       TC RICH v. SHAIKH, et al.                   4       RESPONSE TO ORDER TO SHOW
                                                                               CAUSE
Case 2:19-cv-02123-DMG-AGR Document 42 Filed 10/10/19 Page 11 of 22 Page ID #:349




  1         As discussed above, the Pacifica action is premised in part on Pacifica
  2   Chemical’s operator liability under CERCLA for the period of its operations at the
  3   Property, which Plaintiffs believe spanned from approximately 1983 to 2000. Dkt. 22 ¶
  4   16. Plaintiffs also believe Pacifica Chemical may have owned some or all of the
  5   equipment from which hazardous substances were released, thereby giving rise to
  6   Pacifica Chemical’s ownership liability under CERCLA’s broad definition of “facility.”
  7   42 U.S.C. § 9601(9) (defining “facility” to include equipment); see also, United States
  8   v. Bestfoods, 524 U.S. 51, 56, 118 S. Ct. 1876, 1882, 141 L. Ed. 2d (1998). (“[T]he term
  9   ‘facility’ enjoys a broad and detailed definition”). Either operation or ownership
 10   resulting in a release of hazardous substances to the environment is sufficient to render
 11   Pacific Chemical liable for response costs under CERCLA. 42 U.S.C. § 9607(a).
 12         In contrast, Plaintiffs allege in the FAC that Shah Chemical is a separate and
 13   distinct entity that was a prior chemical operator on the property before Pacifica
 14   Chemical, and is therefore jointly and severally liable under CERCLA as an operator
 15   for its separate period of operations at the Property from approximately 1980 to 1983.
 16   Dkt. 22 ¶¶ 12, 14, Ex. 2. Plaintiffs also allege that Shah Chemical owned some or all of
 17   the equipment from which hazardous substances were released, thereby giving rise to
 18   its individual ownership liability under CERCLA. Dkt. 22, ¶ 46. As for RCRA liability,
 19   Plaintiffs allege in the FAC that Shah Chemical’s operations from 1980-1983
 20   contributed to the disposal of hazardous waste at the Property. Dkt. 22 ¶¶ 19, 91, 93.
 21   Plaintiffs attached to the FAC an example of a notice of violation issued to Shah
 22   Chemical for improper waste disposal practices. Dkt. 22 ¶ 21, Ex. 3. Finally, counsel
 23   for Defendants in this action has acknowledged that “Shah was indeed a separate
 24   corporate entity [from Pacifica Chemical].” Dkt. 36 at p. 5.
 25
 26
 27
 28
       TC RICH v. SHAIKH, et al.                 5         RESPONSE TO ORDER TO SHOW
                                                                               CAUSE
Case 2:19-cv-02123-DMG-AGR Document 42 Filed 10/10/19 Page 12 of 22 Page ID #:350




  1             As to Defendant Shaikh,1 the FAC contains allegations that he separately owned
  2   the real Property during time periods 2 when hazardous substances were released,
  3   thereby giving rise to his own personal, individual (not representative) ownership
  4   liability under CERCLA. Dkt. 22 ¶¶ 44, 47. And, because Defendant Shaikh continued
  5   to own the Property for approximately three years after Pacifica Chemical ceased
  6   operations, and Defendant Shaikh (as an individual, not as a representative or officer of
  7   Pacifica Chemical) became the wastewater permit holder for the clarifier located on the
  8   Property (which was later determined to be a source of contamination), the FAC also
  9   presents claims that Defendant Shaikh has independent operator liability under
 10   CERCLA during that timeframe, distinct from the companies in which he owned stock.
 11   Dkt. 22 ¶ 58, Ex. 4.
 12             The RCRA claim against Defendant Shaikh is also premised on his
 13   individual/personal liability as an owner and steward of his Property who had an ability
 14   to control waste management practices at the Property, the owner of the clarifier at the
 15   Property from which hazardous substances were disposed, and as the individual holder
 16   of the wastewater permit for a period of time during his Property ownership tenure.3
 17   Dkt. 22 ¶¶ 25, 58, 59, Ex. 4; see also, United States v. Ne. Pharm. & Chem. Co., 810
 18   F.2d 726, 745 (8th Cir. 1986) (holding president and major shareholder of company
 19
 20   1
          This Response does not address at length the lack of privity between Pacifica Chemical and
 21        Defendant Khan as there is no allegation that Defendant Khan has any connection to Pacifica
           Chemical, other than as serving as Pacifica Chemical’s landlord for an approximately three year
 22        period from 1984 to 1987. Similar to the allegations against Defendant Shaikh, Defendant Khan is
           alleged to be individually liable under CERCLA as an owner of real Property during a period in
 23        which hazardous substances were released.
 24   2
          The FAC alleges that Defendant Shaikh was the owner of the real Property from August 1979 to
           December 1984, and again from October 1987 to April 2003. Dkt. 22 ¶ 13, Ex. 1.
 25   3
          While different district courts within the Ninth Circuit have interpreted RCRA as imposing a joint
 26        and several liability scheme, an alternative liability scheme, or a hybrid of the two, it is nonetheless
           clear that RCRA is a strict liability statute. See Goe Eng'g Co. v. Physicians Formula Cosmetics,
 27        Inc., No. CV 94-3576-WDK, 1997 WL 889278, at *24 (C.D. Cal. June 4, 1997) (citing United
           States v. Conservation Chemical Co., 619 F. Supp. 162, 199 (D.C.Mo.1985)); Zands v. Nelson, 797
 28        F. Supp. 805, 820 n.7 (S.D. Cal. 1992).
          TC RICH v. SHAIKH, et al.                        6            RESPONSE TO ORDER TO SHOW
                                                                                            CAUSE
Case 2:19-cv-02123-DMG-AGR Document 42 Filed 10/10/19 Page 13 of 22 Page ID #:351




  1   individually liable under RCRA because he “was the individual in charge of and directly
  2   responsible for” all of the company’s operations, including those at the facility, and “he
  3   had the ultimate authority to control the disposal of [the company’s] hazardous
  4   substances”).
  5         Because the claims against Defendant Shaikh are based on his individual liability,
  6   and not on any representative liability he may have as a shareholder or officer of
  7   Pacifica Chemical, the FAC does not present impermissible claim splitting. See United
  8   States v. Gurley, 43 F.3d 1188, 1197 (8th Cir. 1994) (holding that there was no privity
  9   between a corporation and defendant—the principal shareholder, president, and director
 10   of the corporation—because defendant was liable under CERCLA individually rather
 11   than in his corporate capacity); Tavery v. United States, 897 F.2d 1032, 1033 (10th Cir.
 12   1990) (holding that spouses filing a joint tax return were not in privity based in part on
 13   the principle that “claims against joint obligors are generally regarded as separate and
 14   distinct for res judicata purposes”) (citing Restatement (Second) of Judgments § 49 &
 15   comment a (1982)). Objectively, Defendant Shaikh made the investment decision to
 16   personally own the real property on which Shah Chemical and Pacifica Chemical
 17   operated. His election to serve as the “landlord” to companies in which he was also a
 18   shareholder and officer reflects an arm’s length transaction in which he separately
 19   accepted the responsibility and risks of being a property owner under California and
 20   federal law.
 21                  2.   There are no “substantive legal relationships” that establish
 22                       privity.
 23         There are no pre-existing “substantive legal relationships” among the Defendants
 24   and Pacifica Chemical—such as “preceding and succeeding owners of property, bailee
 25   and bailor, and assignee and assignor”—which would establish privity in this case. See
 26   Taylor, 553 U.S. at 894. Although Defendant Shaikh is the current sole shareholder of
 27   Pacifica Chemical (and, again, separately the individual real property owner of its
 28   current location), the claims alleged in the FAC are not a result of this shareholder

       TC RICH v. SHAIKH, et al.                 7         RESPONSE TO ORDER TO SHOW
                                                                               CAUSE
Case 2:19-cv-02123-DMG-AGR Document 42 Filed 10/10/19 Page 14 of 22 Page ID #:352




  1   relationship nor his role as a corporate officer. The claims against him arise from his
  2   distinct liabilities under federal law as the owner of real property or a person who
  3   contributed to the disposal of hazardous waste. Privity is only relevant to the extent that
  4   the claims being brought against Defendant Shaikh in this action arise out of his
  5   relationship with Pacifica Chemical. 4 That is not the case here.
  6            For example, in F.T.C. v. Garvey, the Ninth Circuit considered whether there was
  7   privity between an indemnitor and indemnitee in a Federal Trade Commission Act
  8   action. 383 F.3d 891 (9th Cir. 2004). Noting that, typically, a claim may be precluded
  9   against an indemnitee where the same claim has already been brought against the
 10   indemnitor, the Ninth Circuit explained that “this rule only makes sense when the
 11   indemnitor is, in the first action, acting in its capacity as indemnitor. If the indemnitor
 12   is sued for its own actions and is not sued as an indemnitor for the acts of another, the
 13   rationale favoring preclusion no longer holds.” Id. at 898. The Court concluded that,
 14   even though there was an indemnitor-indemnitee relationship between the parties, they
 15   were not in privity because there was “no indication that [the indemnitor] was acting in
 16   [its indemnitor] role in the first lawsuit.” Id. Rather, it “was being pursued directly for
 17   its own actions.” Id. Accordingly, the indemnification relationship between the parties
 18   was not a “substantive legal relationship” establishing privity because the first action
 19   against the indemnitor did not fall within the scope of the relationship.
 20
 21
      4
          Although the Ninth Circuit, in certain pre-Taylor cases, has made a blanket observation
 22        that a “commonality of interest” is presumed when a person owns most or all of the
 23        shares in a corporation and controls its affairs, those cases are readily distinguishable
           from this case in that they involved: (1) a shareholder who was accused of fraudulent
 24        transfers from his bankrupt corporation intended to defraud the government (In re
 25        Gottheiner, 703 F.2d 1136, 1140 (9th Cir. 1983); (2) a shareholder and a company
           that “were acting as one entity” (Bank of Lake Tahoe v. Bank of America, 57 Fed.
 26        Appx. 310, 311 (9th Cir. 2003); and, (3) application of the virtual representation test
 27        to find a corporate officer bound by litigation decisions made by co-defendants in an
           action in which the corporate officer “participated fully” (Irwin v. Mascott, 370 F.3d
 28        924, 931 (9th Cir. 2004)).
          TC RICH v. SHAIKH, et al.                 8          RESPONSE TO ORDER TO SHOW
                                                                                   CAUSE
Case 2:19-cv-02123-DMG-AGR Document 42 Filed 10/10/19 Page 15 of 22 Page ID #:353




  1         In United States v. Gurley, the Eighth Circuit held that a defendant was not in
  2   privity with a corporation—despite being its principal shareholder, president, and
  3   director. 43 F.3d at 1197. The Court noted that, although “directors, officers, and
  4   shareholders may be in privity with a corporation and thereby assert a res judicata
  5   defense if they are named as defendants solely in their capacity as directors, officers,
  6   and shareholders,” there was no privity because “the district court imposed liability on
  7   [defendant] not in his capacity as principal shareholder, president, and director, but as
  8   an individual who meets [CERCLA] § 9607(a)(2)'s definition of ‘operator.’” Id.
  9   (internal quotations omitted). Similarly, the Tenth Circuit in Tavery v. United States
 10   found that a married couple who filed a joint tax return could nonetheless have claims
 11   brought against them in separate actions relating to the same tax return because they
 12   each had individual tax liability. 897 F.2d at 1033. This conclusion was based in part
 13   on the principle that “claims against joint obligors are generally regarded as separate
 14   and distinct for res judicata purposes.” Id. (citing to Restatement (Second) of Judgments
 15   § 49 & comment a (1982)).
 16         As explained above, CERCLA and RCRA impose strict separate and distinct
 17   (though often also joint and several) liability on responsible parties as defined by the
 18   statutes. See, e.g., Voggenthaler v. Maryland Square LLC, 724 F.3d 1050, 1061 (9th
 19   Cir. 2013) (“CERCLA is a strict liability statute in that it does not require a party to act
 20   culpably in order to be liable for clean up”) (citing Cal. Dept. of Toxic Substances
 21   Control v. Hearthside Residential Corp., 613 F.3d 910, 912 (9th Cir. 2010); U.S. v. N.E.
 22   Pharm & Chem, 810 F.2d 726, 740 (8th Cir. 1986) (Congress intended RCRA to impose
 23   liability without fault or negligence).
 24         Defendant Shaikh is named as a responsible party under CERCLA in this action
 25   because he individually owned the Property at which Pacifica Chemical and Shah
 26   Chemical operated when a release of hazardous substances occurred, and he also
 27   operated the Property for at least a three year period of time during which additional
 28   releases occurred. In addition, Defendant Shaikh is named as a liable party under RCRA
       TC RICH v. SHAIKH, et al.                  9          RESPONSE TO ORDER TO SHOW
                                                                                 CAUSE
Case 2:19-cv-02123-DMG-AGR Document 42 Filed 10/10/19 Page 16 of 22 Page ID #:354




  1   for his individual actions at the Property that contributed to the disposal of hazardous
  2   waste, including his ability (and actual) control of waste handling both prior to and
  3   during the approximately three-year period in which he was the wastewater permit
  4   holder for the clarifier – a known source of contamination. See, e.g., Marathon Oil Co.
  5   v. Texas City Terminal Railway Co., 164 F. Supp. 2d 914, 920-21 (S.D. Tex. 2001)
  6   (allowing RCRA claims to proceed against defendants alleged to have played a role in
  7   environmental contamination by virtue of their control over the practices that caused
  8   the contamination).
  9
                   3.     Defendants’ interests cannot be adequately represented by
 10                       Pacifica Chemical in the Pacifica action
 11         With respect to the third category, adequate representation, the Taylor Court
 12   explained that a party’s representation of a nonparty is “‘adequate’ only if, at a
 13   minimum: (1) The interests of the nonparty and her representative are aligned; and (2)
 14   either the party understood herself to be acting in a representative capacity or the
 15   original court took care to protect the interest of the nonparty.” Taylor, 553 U.S. at 900
 16   (internal citations omitted). Typical examples of adequate representation in this context
 17   include “properly conducted class actions” and “suits brought by trustees, guardians,
 18   and other fiduciaries.” Id. at 894.
 19         Far from having their interests aligned with Pacifica Chemical’s, Defendants –
 20   who are subject to their own individual liability under CERCLA for their distinct
 21   periods of ownership and operatorship at the Property – have an inherent conflict with
 22   Pacifica Chemical under CERCLA’s contribution and apportionment schemes. Section
 23   113(f)(1) of CERCLA allows parties who have undertaken a cleanup at a contaminated
 24   site pursuant to a civil action to seek contribution from other parties liable under
 25   CERCLA. 42 U.S.C. § 9613(f)(1); Cooper Indus., Inc. v. Aviall Svcs, Inc., 543 U.S.
 26   157, 160 (2004). In addition, to the extent individual contributions of waste can be
 27   discerned, the joint liability of parties at a CERCLA site can be equitably apportioned
 28   amongst the parties. See e.g., Burlington N. & Santa Fe Ry. Co. v. United States, 556
       TC RICH v. SHAIKH, et al.                10         RESPONSE TO ORDER TO SHOW
                                                                               CAUSE
Case 2:19-cv-02123-DMG-AGR Document 42 Filed 10/10/19 Page 17 of 22 Page ID #:355




  1   U.S. 599, 614 (2009) (joint and several liability is available under CERCLA § 107
  2   unless the harms caused by multiple entities “are capable of apportionment”).
  3   Therefore, it is in Pacifica Chemical’s best interest to attempt to minimize its own
  4   liability, while maximizing the liability of other potentially responsible parties who
  5   owned and operated the Property at different times during which hazardous wastes were
  6   released, i.e., the Defendants in this action. Similarly, as a separate landowner, it is in
  7   Defendant Shaikh’s best interest to shift as much liability as possible to Pacifica
  8   Chemical. 5 Under such circumstances, it cannot be said that Pacifica Chemical’s and
  9   Defendants’ interests are aligned. See also, Zands v. Nelson, 797 F. Supp. 805, 811
 10   (S.D. Cal. 1992) (explaining that in the context of a RCRA action, each of the liable
 11   owner/operator defendants has the opportunity in a second stage of the trial to shift
 12   liability to the remaining defendants).
 13            In addition, during a mediation in the Pacifica matter, Plaintiffs’ counsel was
 14   informed by a neutral mediator that Pacifica Chemical anticipated filing for bankruptcy
 15   in the event of an adverse judgment. Declaration of Mark E. Elliott in Support of
 16   Response to Order to Show Cause (“Elliott Decl.”) at ¶ 3. Such a maneuver would
 17   clearly be in direct conflict with Defendants’ interests as joint and severally liable
 18   parties—further demonstrating that Defendants are not in privity with Pacifica
 19   Chemical. Taylor, 553 U.S. at 900.
 20                   4.     Defendants do not control the Pacifica action
 21            As to the fourth Taylor category, there is no indication that Defendants have taken
 22   any meaningful role in the Pacifica action, much less can they be said to have “assumed
 23   control” over it. See Taylor, 553 U.S. at 895. Because Defendant Shah Chemical is a
 24
 25   5
        While discovery of the contractual leasing arrangement between Shah Chemical,
      Pacifica Chemical and Mr. Shaikh has not been undertaken, it would be a typical
 26
      business practice for a California tenant to indemnify a landlord for environmental
 27   liabilities, while the landlord would owe the tenant no such contractual relief. See, e.g.
      11 Miller and Starr, California Real Estate § 39.8 (4th ed. 2019).
 28
          TC RICH v. SHAIKH, et al.                11         RESPONSE TO ORDER TO SHOW
                                                                                  CAUSE
Case 2:19-cv-02123-DMG-AGR Document 42 Filed 10/10/19 Page 18 of 22 Page ID #:356




  1   suspended corporation, it has no right to defend itself in any litigation. See Cal. Rev. &
  2   Tax Code § 23301 (a suspended corporation is disqualified from exercising its
  3   “corporate powers, rights and privileges”); Center for Self-Improvement & Community
  4   Development v. Lennar Corp., 173 Cal. App. 4th 1543, 1552 (Ct. App. 2009)
  5   (suspended corporation cannot prosecute or defend a civil action). Therefore, this
  6   privity exception category cannot apply to Defendant Shah Chemical.
  7         With respect to Defendant Shaikh, it is not at all evident that he has “assumed
  8   control” of the Pacifica action. Rather, to Plaintiffs’ knowledge, Pacifica Chemical’s
  9   insurance company has been funding/defending the Pacifica action, albeit under a
 10   reservation of rights, including by making decisions regarding settlement proposals and
 11   mediation positions. Elliott Decl. at ¶ 4. Although privity may exist where a corporate
 12   defendant and its individual shareholder are “alter egos,” Plaintiffs have no current
 13   evidence, and therefore cannot state that Pacifica Chemical is not respecting corporate
 14   formalities, and Plaintiffs have not made any such allegations in this action or in the
 15   Pacifica matter. Cf. Rolloco Holdings, Inc. v. VLP Capital, Inc., No.
 16   EDCV181718JGBSPX, 2019 WL 1491175, at *5 (C.D. Cal. Apr. 4, 2019) (finding
 17   privity for purposes of res judicata where plaintiffs alleged alter ego status among
 18   defendants and advanced no arguments against a finding of privity); IMP Int'l, Inc. v.
 19   Zibo Zhongshi Green Biotech Co., No. EDCV141339JGBDTBX, 2015 WL 13357602,
 20   at *4-5 (C.D. Cal. Mar. 20, 2015) (same; collecting federal and California cases); see
 21   also Robinson v. Volkswagenwerk AG, 56 F.3d 1268, 1275 (10th Cir. 1995).
 22         Because Defendants do not fall within any of the Taylor categories that provide
 23   exceptions to the general rule against nonparty preclusion, there is no basis to find that
 24   Defendants are in privity with Pacifica Chemical such that the present action constitutes
 25   impermissible claim splitting.
 26
            B.     Plaintiffs are not attempting to do an “end run” around this Court’s orders
 27                in the Pacifica action
 28         In the Pacifica action, Plaintiffs sought leave to amend the complaint to add a
       TC RICH v. SHAIKH, et al.                 12        RESPONSE TO ORDER TO SHOW
                                                                               CAUSE
Case 2:19-cv-02123-DMG-AGR Document 42 Filed 10/10/19 Page 19 of 22 Page ID #:357




  1   RCRA claim against Pacifica Chemical based on its own improper waste disposal
  2   conduct at the Property. Pacifica, Dkt. 105. Importantly, Plaintiffs’ motion did not seek
  3   to add Defendants as parties to the Pacifica action. Id. In fact, Plaintiffs explained in
  4   the motion for leave that they intended to file a separate new action against additional
  5   responsible parties for their individual joint and several liability, because Plaintiffs
  6   believed it would be procedurally simpler and more proper, and would conserve judicial
  7   resources by not requiring the Court to consider unnecessary issues. Id. at 3.
  8         On March 21, 2019, more than three weeks before the Court’s ruling on the
  9   motion for leave to amend the complaint in the Pacifica action, Plaintiffs filed the
 10   present action against the Defendants. Dkt. 1. Plaintiffs’ decision to file the new action
 11   preceded, and was unrelated to, the Court’s eventual denial of their motion to amend
 12   the Pacifica complaint on April 15. In addition, the new action did not include any
 13   claims against Pacifica Chemical, which were the sole subject of the motion for leave
 14   to amend that the Court ultimately denied. Rather, the new action, including the RCRA
 15   claims added in the FAC, related only to the Defendants and their individual, separate
 16   liability at the Property based on their conduct or status as owners and operators, and
 17   not due to their positions as representatives of Pacifica Chemical.
 18         Federal Rule of Civil Procedure 20, “Permissive Joinder of Parties” (“Rule 20”),
 19   provides that persons “may be joined in one action as defendants” if a right to relief is
 20   alleged against them “jointly, severally, or in the alternative with respect to or arising
 21   out of the same transaction, occurrence, or series of transactions or occurrences.” Fed.
 22   R. Civ. P. 20(a)(2)(A) (emphasis added). As discussed above, Plaintiffs’ claims against
 23   the Defendants in the present action relate to Defendants’ individual joint and several
 24   and/or alternative liability for environmental contamination during the periods of their
 25   ownership of the real property and/or operation, and Defendants are not in privity with
 26   Pacifica Chemical.
 27         While Plaintiffs could have joined Defendants in the Pacifica action when it was
 28   originally filed pursuant to Rule 20, the Federal Rules do not require that such claims
       TC RICH v. SHAIKH, et al.                13         RESPONSE TO ORDER TO SHOW
                                                                               CAUSE
Case 2:19-cv-02123-DMG-AGR Document 42 Filed 10/10/19 Page 20 of 22 Page ID #:358




  1   be brought in a single action. See, e.g., Ferland v. Braband, 7 Fed. Appx. 692, 693 (9th
  2   Cir. 2001) (finding district court abused discretion by dismissing later-filed action on
  3   the ground that plaintiff filed the lawsuit to circumvent a Rule 16 scheduling order in a
  4   separate related case, where joinder was permissive under Rule 20); Atchison, Topeka
  5   and Santa Fe Ry. Co. v. Hercules Inc., 146 F.3d 1071, 1073-74 (9th Cir. 1998) (finding
  6   district court abused discretion by dismissing later-filed action for perceived violation
  7   of scheduling order in related action, where joinder of the defendants in the first action
  8   was permissive: “plaintiff retains the option of filing permissive claims in a separate
  9   action,” so its “procedural strategy [of filing a separate action] cannot be considered
 10   abusive.”).
 11            Plaintiffs made an appropriate and allowable procedural choice under the Federal
 12   Rules to file a new action against jointly and severally liable Defendants, particularly
 13   following the veiled threat that Pacifica Chemical would render itself “judgment proof”.
 14   Elliott Decl. at ¶ 3. Plaintiffs’ procedural choice cannot form the basis for dismissal of
 15   the present action, even if the Court concludes that filing the new action constituted an
 16   “end run” around the Court’s orders in the Pacifica action. 6 “Thus, we join other circuits
 17   in holding that district courts have inherent power to control their dockets, but not when
 18   its exercise would nullify the procedural choices reserved to parties under the federal
 19   rules.” Atchison, 146 F.3d at 1074.
 20            C.     Objectives of the Doctrine Against Claim Splitting would not be achieved
 21                   by its application to this case.
 22            As noted by the Court in its Order, the ultimate objective of the doctrine against
 23   claim splitting is to “protect the Defendant from being harassed by repetitive actions
 24   based on the same claim” and “to promote judicial economy and convenience.” Cook
 25   v. C.R. England, No. CV 12-3515-GW(CWX), 2012 WL 2373258, at *3 (C.D. Cal.
 26   June 21, 2012) (citing Clements v. Airport Auth. Of Washoe Cnty., 69 F.3d 321, 328
 27
      6
          This is a purely hypothetical statement; Plaintiffs adamantly deny that they had any
 28        intent to circumvent this Court’s orders in the Pacifica action.
          TC RICH v. SHAIKH, et al.               14         RESPONSE TO ORDER TO SHOW
                                                                                 CAUSE
Case 2:19-cv-02123-DMG-AGR Document 42 Filed 10/10/19 Page 21 of 22 Page ID #:359




  1   (9th Cir. 1995)). Application of the doctrine here would not meaningfully further either
  2   of those two objectives.
  3         First, because Defendants Shaikh and Shah Chemical are not named defendants
  4   in the Pacifica action, and their individual liability under CERCLA or RCRA is not at
  5   issue in that case (nor will either be bound by a judgment against Pacifica Chemical in
  6   that case), the instant matter in which their individual liability is at issue is not a
  7   repetitive action, nor is it being brought for the purpose of harassing them. Rather, each
  8   is jointly and severally liable under CERCLA for their own individual involvement at
  9   the Property. Neither is called on to defend themselves in the Pacifica action, and
 10   indeed, the actions of the Defendants in this case and the time periods of their
 11   involvement at the Property are not fully coextensive with those of Pacifica Chemical.
 12         Second, application of the doctrine against claim splitting would not promote
 13   judicial economy in this situation. The action against Pacifica Chemical has been stayed
 14   for over two years while the parties in that matter progress through multiple rounds of
 15   mediation. Pacifica, Dkt. 90. As such, very little discovery has taken place, no discovery
 16   cutoff has been set, and there is no trial date scheduled. The parties in the Pacifica action
 17   submitted a Seventh Joint Status Report to the Court on August 14, 2019, indicating
 18   that Pacifica Chemical was making some progress in further investigating the Site;
 19   however, no remediation—nor any responsibility for remediation—has been
 20   undertaken thus far. Pacifica, Dkt. 118. Although the parties in the Pacifica action are
 21   intending to return to mediation as early as November 2019 when more is known about
 22   the extent of contamination, and while the parties are cautiously optimistic that a final
 23   resolution is possible, it is still far from certain that Pacifica Chemical will ultimately
 24   accept responsibility for remediating contamination at the Property.
 25         Finally, even if this Court finds that the action against Defendants constitutes
 26   impermissible claim splitting, this Court has broad discretion in how to redress the issue.
 27   Adams, 487 F.3d at 688. Dismissal is not mandatory; rather, the Court has equitable
 28   options including consolidating the two actions or staying the present action until
       TC RICH v. SHAIKH, et al.                  15         RESPONSE TO ORDER TO SHOW
                                                                                 CAUSE
Case 2:19-cv-02123-DMG-AGR Document 42 Filed 10/10/19 Page 22 of 22 Page ID #:360




  1   resolution of the first-filed Pacifica case. Id. Moreover, and in light of the particular facts
  2   here, dismissal of the present case would be unnecessarily punitive given Defendants’
  3   individual CERCLA and RCRA liability that is not at issue in—and will not be resolved
  4   by—the Pacifica action, the lack of privity and even potentially direct conflict between
  5   Defendants and Pacifica Chemical, and the early stage of litigation of the Pacifica matter,
  6   which remains stayed without any deadlines set or significant discovery completed.
  7   CONCLUSION
  8          Based on the foregoing, Plaintiffs respectfully request that the Court discharge
  9   its Order to Show Cause Why the Action Should Not Be Dismissed for Claim-Splitting.
 10   In the alternative, Plaintiffs request that the Court stay the present action or consolidate
 11   the related proceedings.
 12
 13   Dated: October 10, 2019                   RAINES FELDMAN LLP
 14                                             /s/ John S. Cha
                                                _________________________
 15
                                                John S. Cha
 16                                             Counsel for Plaintiffs
 17
      Dated: October 10, 2019                   PILLSBURY WINTHROP SHAW
 18
                                                PITTMAN LLP
 19
                                                /s/ Mark Elliot
 20
                                                _________________________
 21                                             Mark Elliot
 22                                             Counsel for Plaintiffs

 23
 24
 25
 26
 27
 28
       TC RICH v. SHAIKH, et al.                   16         RESPONSE TO ORDER TO SHOW
                                                                                  CAUSE
